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                                         December 9, 2020

                                        CERTIFICATION

Via E-filing
United States District Court
Eastern District of Pennsylvania
Honorable Joshua D. Wolson
601 Market Street
Room 3809
Philadelphia, PA 19106-1726
                       RE: Lisa Barbounis v. The Middle East Forum
                              No. 2:19-cv-05030-JDW
Dear Judge Wolson:

Please allow this email to serve as Plaintiff’s Certification that counsel for Plaintiff has received
all image, audio, and video files and has produced all relevant, responsive documents, through
Dropbox, to Defendants. The final production was furnished this evening at approximately 6:20
P.M. The final production included 1089 multi media files such as audio recordings.

I have also notified counsel for Defendants, Dave Walton that the production is in Dropbox
inside of a folder named Multi-Media Files.


                                                      Very Truly Yours,

                                                      DEREK SMITH LAW GROUP, PLLC

                                                   BY:___/s/ Seth D. Carson________
                                                        Seth D. Carson, Esquire


CC: All parties through ECF




      New York City Office: One Penn Plaza, Suite 4905, New York, NY 10119 | (212) 587-0760
    Philadelphia Office: 1835 Market Street, Suite 2950, Philadelphia, PA 19103 | (215) 391-4790
           Miami Office: 100 SE 2nd Street, Suite 2000, Miami, FL 33131 | (305) 946-1884
          New Jersey Office: 73 Forest Lake Drive, West Milford, NJ 07421 | (973) 388-8625
                 Website: www.discriminationandsexualharassmentlawyers.com
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                               CERTIFICATE OF SERVICE



       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Status Report was served via the Court’s ECF filing system:


                                  David J. Walton (PA # 86019)
                                  Leigh Ann Benson (PA #319406)
                                  Cozen O'Connor
                                  1650 Market Street, Suite 2800
                                  Philadelphia, PA 19103
                                  P: 215-665-2000
                                  F: 215-665-2013
                                  dwalton@cozen.com
                                  lbenson@cozen.com

                                  Sidney L. Gold sgold@discrimlaw.
                                  Sidney L. Gold & Associates P.C.
                                  1835 Market Street, Suite 515
                                  Philadelphia, PA 19103
                                  Tel: (215) 569-1999
                                  Fax: (215) 569-3870
                                  Counsel for The Middle East Forum


                                            DEREK SMITH LAW GROUP, PLLC


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                                  BY:__/s/_Seth D. Carson_____________

                                         SETH D. CARSON




DATED: December 9, 2020




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